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  SO ORDERED

  SIGNED this 1 day of February, 2024.




                                                    ____________________________________
                                                    Pamela W. McAfee
                                                    United States Bankruptcy Judge

         __________________________________________________________




                IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            RALEIGH DIVISION

   IN RE:

   9 METERS BIOPHARMA, INC.,                    CASE NO. 23-01992-5-PWM
                                                CHAPTER 7
   DEBTOR

         ORDER GRANTING MOTION TO EXTEND TIME TO ASSUME
      OR REJECT EXECUTORY CONTRACTS FOR AGREEMENTS WHERE
        AZENTA US INC. IS A COUNTERPARTY, TO ESTABLISH CURE
      AMOUNTS, AND TO POTENTIALLY ASSUME OR ASSIGN CERTAIN
                        EXECUTORY CONTRACTS

         This matter comes before the Court on the motion of George F. Sanderson III,
  Chapter 7 Trustee for the Bankruptcy Estate of 9 Meters Biopharma, Inc. (the
  “Trustee”) to extend the time to assume or reject executory contracts in which
  Azenta US Inc. (“Azenta US”) is a counterparty through and until March 15, 2024,
  to establish cure amounts, and to authorize the potential assumption and
  assignment of agreements with Azenta US to Helicore Bioventures I, Inc.
  (“Motion”). No party in the interest has filed an objection or otherwise responded to
  the Motion. With respect to the Motion, the Court finds as follows:
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        1.     On July 17, 2023 (the “Petition Date”), the Debtor filed a voluntary
  petition seeking relief under Chapter 7 of the Bankruptcy Code.
        2.     On July 19, 2023, the Court appointed Richard D. Sparkman as the
  Chapter 7 Trustee for the Debtor’s bankruptcy estate.
        3.     On August 17, 2023, Mr. Sparkman resigned as Chapter 7 Trustee and
  Mr. Sanderson was appointed as successor Chapter 7 Trustee.
        4.     The original deadline for the Trustee to assume or reject executory
  contracts (the “assumption/rejection deadline”) was September 15, 2023. On motion
  of the Trustee, the Court ordered the extension of the assumption/rejection deadline
  to November 14, 2023. On further motion of the Trustee, the Court extended the to
  assume or reject executory contracts through January 16, 2024.
        5.     The Motion was filed on January 12, 2024, before the deadline for the
  Trustee to assume or reject executory contracts, as previously extended, expired.
        6.     By order dated January 5, 2024, the Court approved the Trustee’s sale
  of certain assets related to and including certain intellectual property of the Debtor,
  to Helicore Bioventures, I, Inc. (“Helicore”) pursuant to the terms of that certain
  Asset Purchase Agreement entered into between the Trustee and Helicore dated
  January 5, 2024 (the “APA”).
        7.     The APA provided for the Trustee’s assumption and assignment of
  certain executory contracts to Helicore, listed on Schedule 2.4(a) appended to the
  APA, in accordance with the assumption and assignment procedures set forth in the
  Bidding Procedures Order that the Court Entered on November 29, 2023 [D.E.
  #116] and as otherwise set forth in the APA.
        8.     Section 2.4(c) of the APA provides Helicore the option to designate
  additional executory contracts for potential assumption and assignment following
  the approval of the APA, but within one business day prior to closing.
        9.     Helicore has timely additionally designated the agreements with
  Azenta US for potential assumption and assignment.
        10.    The Trustee provided adequate notice of the Motion and the potential
  assumption and assignment to Helicore of the agreements with Azenta US and

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  indicated in the Notice of Motion the consequences of Azenta US failing to respond
  to the Motion.
        11.     In the Motion, the Trustee asserted that the Cure Amounts necessary
  to assume and assign all agreements where Azenta US is a counterparty is $501.77.
        12.     Azenta US did not file an objection or otherwise timely respond to the
  Motion.


        Based on the foregoing findings, the Court ORDERS as follows:


        1.      The date by which the Trustee has to assume or reject executory
  contracts with Azenta US is extended through and until March 15, 2024;
        2.      The Cure Amount necessary for the assumption and assignment of all
  agreements with Azenta US is $501.77;
        3.      Because of its failure to object to the Cure Amount and otherwise to
  the assumption and assignment of its agreements, Azenta US is estopped from
  asserting or claiming any Cure Amount greater than the Cure Amount set forth in
  the Motion;
        4.      The assumption and assignment of all agreements with Azenta US
  otherwise satisfies all applicable requirements for assumption and assignment
  including, without limitation, the requirements set forth in Section 365 of the
  Bankruptcy Code;
        5.      Because of its failure to object to the Cure Amount and otherwise to
  the assumption and assignment of its agreements, Azenta US is deemed to have
  consented to the assumption by the Trustee and assignment or transfer (including
  the transfer of any related rights and benefits thereunder) to Helicore Bioventures
  I, Inc. of all agreements with Azenta US and the adequacy of future performance
  thereunder.
        6.      Because of its failure to object to the Cure Amount and otherwise to
  the assumption and assignment of its agreements, Azenta US is forever barred and
  estopped from asserting or claiming against the Trustee, the Bankruptcy Estate, or

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  Helicore Bioventures I, Inc., as applicable, that any additional defaults exist or that
  conditions to assumption, assignment, and transfer must be satisfied as to any
  agreement with Azenta US (including, without limitation, with respect to adequate
  assurance of future performance by Helicore Bioventures I, Inc.) or that any related
  right or benefit under such contract cannot and will not be available to Helicore
  Bioventures I, Inc.;
        7.     The assumption and assignment of all agreements with Azenta US is
  otherwise governed by the terms of the APA.
                                 END OF DOCUMENT




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